
PER CURIAM.
“The Court doth decide, by the unanimous opinion of the Judges present, that from the proceedings in this case, Philip Stultz is prosecutor, and liable to pay the costs of the defendant, notwithstanding he is not named ht the foot of the Information, it'appearing sufficiently *by the Presentment, and other proceedings in the cause, that he was the person who instituted the prosecution ; and that it was too late after verdict rendered, for the prosecutor to shew, by parol testimony, that he was called on by the Grand Jury, and did not voluntarily go before them to give them information.
Sote (In edition of 1858). — This subject is now to be found, very clearly put down, in 1 Bev. Code of 1819, ch. 169, § 45, 46, 47.
